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                    UNITED STATES COURT OF APPEALS                        FILED
                           FOR THE NINTH CIRCUIT                          AUG 27 2020
                                                                      MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
UNITED STATES OF AMERICA,                       No.    20-55853
                                                         2:15CV4856-SVW
                Plaintiff-Appellee,             D.C. No. 2:89-cr-00190-SVW-17
                                                Central District of California,
 v.                                             Los Angeles

JUAN CARLOS SERESI,                             ORDER

                Defendant-Appellant.

Before: Peter L. Shaw, Appellate Commissioner.

      The motion of Reuven L. Cohen, Esq., to be relieved as counsel of record

and for appointment of Alyssa D. Bell, Esq., (Docket Entry No. 3) is granted.

Alyssa D. Bell of Cohen Williams LLP, 724 South Spring Street, 9th Floor, Los

Angeles, CA 90014, is appointed for this appeal, effective August 27, 2020.

      The opening brief is due December 8, 2020; the answering brief is due

January 7, 2021; the optional reply brief is due within 21 days after service of the

answering brief.

      The Clerk shall also serve this order on appellant individually: Juan Carlos

Seresi, Reg. No. 90574-012, MDC Los Angeles, Metropolitan Detention Center,

P.O. Box 1500, Los Angeles, CA 90053.
